UNITED STATES OF AMERICA

_v_

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UNlTED STATES DISTRICT CoURT F'¥ED B‘=L…~__,_o.c.

WESTERN DISTRICT OF TENNESSEE

Eastern Division 05 JUN 214 PH 33 118

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C.l.i*n

 

Case No. l:05cr10007-001T

ERI C ELMO PETERSON

 

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(2)

(3)

ORDER SETT|NG
COND|T|ONS OF RELEASE

lT IS ()RDERED that the release of the defendant is subject to the following conditions and provisions:

The defendant shall not commit any offense in violation of federal, state or local law while on release in this
ease.

Tlie defendant shall immediately advise the court, Pretrial Services Offlce, Probation Offlce, defense counsel
and the U.S. Attomey in writing of any change in address and telephone number.

The defendant shall appear at all proceedings as required and shall surrender for service of any sentence

imposed as directed The defendant shall next appear for Arraignment in the United States Couithouse and
Federal Building in Courtroom Courtroom # on Day, Date, at Time.

ADD|TIONAL COND|T|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the

community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below'.

Seeured Financial Conditions

0 Execute a bond in the amount of $5,000 or an agreement to forfeit upon failure to appear as required, and
post With the following amount of money to be deposited into the registry of the Court: $500.

0 report as directed by the Pretrial Services Offrce.

o Rei`rain from possessing a firearm, destructive device, or other dangerous weapon.

¢ Refrain from any use or unlawful possession of a narcotic drug or other controlled substances in 21 U.S.C. §
802, unless with prior written approval of the Pretrial Services Officer or as may be lawfully prescribed in
writing by a licensed medical practitioner.

0 Submit to any method of testing required by the Pretrial Services office or the supervising officer for
determining Whether the defendant is using a prohibited substance Such methods may be used with random

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frequency and include urine testing, the wearing of a sweat patch1 a remote alcohol testing system, and/or any
form of prohibited substance screening or testing.

0 Participate in a program of inpatient or outpatient substance abuse testing, education or treatment if deemed
advisable by Pretrial Services and pay a percentage of the fee as determined by Pretrial Services.

0 Other: defendant not to violate any federal, state or local law.

ADV|CE OF PENALTIES AND SANCT|ONS

TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALT|ES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

The commission of a Federal offense while on pretrial release may result in an additional sentence to a term
of imprisonment of not more than ten years1 if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. .This sentence shall be in addition to any other sentence.

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation It is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or informant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

lf after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed Ifyou are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;

(2) an offense punishable by imprisonment for a term of five years or more, but less than fifteen years, you shall
be fined not more than 5250,000 or imprisoned not more than five years, or both;

(3) any other felony, you shall be fined not more than $250,00() or imprisoned not more than two years, or both;

{4) a misdemeanor, you shall be fined not more than $100,000 or imprisoned not more than one year, or both.

A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense ln addition, a failure to appear may result in the forfeiture of any bond posted.

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AO 199A Order Setting Condlt`lons cf Release -2'

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ACKNOWLEDGN|ENT OF DEFENDANT"'”'""'

I acknowledge that l am the defendant in this case and that I arn aware of the conditions of release. I promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed lam aware
of the penalties and sanctions set forth above.

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Signature of Defendant

Eric Elmo Peterson
25 Wiley St.
Jackson, TN 38301
427-3769

DIRECT|ONS TO THE UN|TED STATES MARSHAL

[l The defendant is ORDERED released after processingl

[l The United States marshal is ORDERED to keep the defendant in custody until notified by the Clerk or
Judicial Officer that the defendant has posted bond and/or complied with all other conditions for release, The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still in
custody.

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Date: June 24,2005 é’. /é/,?//FV Ml-¢

S. THOMAS ANDERSON
UN]TED STATES MAGISTRATE JUDGE

AO 199/lt Order Settlng Conditions of Release '3'

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 8 in
case l:05-CR-10007 was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

M. Dianne Smothers

FEDERAL PUBLIC DEFENDER
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Ste. B-S

Jackson, TN 38301

.l ames W. Powell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jackson, TN 38301

Honorable .l ames Todd
US DISTRICT COURT

